Case 1:22-mj-01288-RML Document1 Filed 12/05/22 Page 1 of 3 PagelD #: 1

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
COMPLAINT
- against -
(18 U.S.C. § 1546(a))
ABDUL MUTALIB OSMAN,
No. 22-MJ-1288
Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

ALISON PIERCE, being duly sworn, deposes and states that she is a Special
Agent with the United States Department of State, duly appointed according to law and acting as
such,

On or about December 3, 2022, within the Eastern District of New York and
elsewhere, the defendant ABDUL MUTALIB OSMAN, did knowingly and intentionally utter,
use, attempt to use, possess, obtain, accept, and receive one or more documents prescribed by
statute or regulation for entry into and as evidence of authorized stay and employment in the
United States, which defendant knew to be procured by means of a false claim and statement and
otherwise procured by fraud and otherwise unlawfully obtained.

(Title 18, United States Code, Sections 1546(a))

The source of your deponent’s information and the grounds for her belief are as

follows:!

 

Because the purpose of this Complaint is to set forth only those facts necessary to

establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
Case 1:22-mj-01288-RML Document 1 Filed 12/05/22 Page 2 of 3 PagelD #: 2

1. lam a Special Agent with the United States Department of State (“State”)
and have been involved in the investigation of numerous cases involving passport and visa fraud.
| am familiar with the facts and circumstances set forth below from my participation in the
investigation; my review of the investigative file; and from reports of other law enforcement
officers involved in the investigation.

2. On or about December 3, 2022, the defendant ABDUL MUTALIB
OSMAN arrived at Terminal 4 at John F. Kennedy International Airport (“JFK”) in Queens,
New York on a flight from Accra, Ghana.

3. Upon arrival, the defendant ABDUL MUTALIB OSMAN proceeded to
the United States Customs screening and presented to officers from the United States Customs
and Border Protection (“CBP”) a Ghanian passport with what appeared to be a fraudulently
obtained I-551 form (i.e., a Green Card).

4. The CBP officers referred the defendant ABDUL MUTALIB OSMAN to
a secondary screening. During the secondary screening, a CBP officer determined that the
Alien registration number on the I-551 form was not assigned to OSMAN in CBP’s systems. In
fact, the Alien registration number on the [-551 form was assigned to an Indian woman.

5. CBP officers next conducted a custodial interview of the defendant
ABDUL MUTALIB OSMAN, during which OSMAN admitted to receiving the 1-551 form from
a close friend and businessman in Ghana. OSMAN denied paying for the [-551 form.

6. The defendant ABDUL MUTALIB OSMAN explained to the CBP
officers that he provided the close friend and businessman his Ghanian passport and a passport-
sized photograph to create the I-551 form. OSMAN further admitted that knew the [-551 form

was intended to give him permanent residency in the United States, but that he had never applied
Case 1:22-mj-01288-RML Document 1 Filed 12/05/22 Page 3 of 3 PagelD #: 3

for residency in the United States. Finally, OSMAN admitted that he intended to use the
fraudulent 1-551 form to enter the United States without further question.
WHEREFORE, your deponent respectfully requests that the defendant ABDUL

MUTALIB OSMAN be dealt with according to law.

——S

ALISON PIERCE
Special Agent
United States Department of State

 

Sworn to before me this
5" day of December, 2022

DGE
